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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


TDC INTERNATIONAL CORP.
f/k/a G.E. THOMPSON DEVELOPMENT CORP.,

       Plaintiff,
v.                                                      Case No. 08-14792

JAE L. BURNHAM, d/b/a QUICK AND
EASY MOVING, AND QUICK AND EASY
MOVING, LLC,

       Defendants.
                                               /

                    ORDER LIFTING STAY, REOPENING CASE, AND
                     REQUIRING DEFENDANT TO SHOW CAUSE

       The court entered a consent judgment in this trademark dispute on June 22,

2009. (Dkt. # 30.) Defendant Jae Burnham, doing business as Quick and Easy Moving,

repeatedly failed to abide by that consent judgment, prompting multiple orders in 2010

holding Defendant in contempt of court. (Dkt. # 40, 57.) On January 1, 2011,

Defendant filed for Chapter 7 bankruptcy, and this proceeding was stayed in

accordance with the automatic stay provision of the Bankruptcy Code, 11 U.S.C. §

362(a). (Dkt. # 61.) In May 2017, Plaintiff successfully petitioned the court to reopen the

case and lift the stay (Dkt. #63); however, Defendant then filed a second notice of

bankruptcy (Dkt. #64) which promoted the court to reimpose the stay. (Dkt. #65.)

       In its July 12, 2017 order re-imposing the stay in this case, the court authorized

Plaintiff to reopen the case upon filing notice with the court and without payment of a

fee. Plaintiff now seeks to reopen the case because the Bankruptcy Court has ruled in

its favor and held that Defendant’s debt for court sanctions is non-dischargeable. (Dkt.
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#67, PageID 691.) Plaintiff also requests that the court order Defendant to show cause

why he should not be held in contempt for his continued violation of the court’s previous

orders. The court finds Plaintiff’s request appropriate. Accordingly,

            IT IS ORDERED that the stay is LIFTED. The Clerk of the Court shall reopen the

case to the court’s active docket.

            IT IS FURTHER ORDERED that Defendant is ORDERED to appear in person at

the United States District Court for the Eastern District of Michigan located at 526 Water

Street in Port Huron, Michigan on November 7, 2018, at 2:00 p.m. for a hearing at

which he shall SHOW CAUSE, if any he has, why he should not be held in contempt of

court.


                                                                           s/Robert H. Cleland
                                                                           ROBERT H. CLELAND
                                                                           UNITED STATES DISTRICT JUDGE

Dated: October 25, 2018



I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, October 25, 2018, by electronic and/or ordinary mail.

                                                                           s/Lisa Wagner
                                                                           Case Manager and Deputy Clerk
                                                                           (810) 292-6522

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